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T-Mobile USA, Inc.
12920 SE 38" St.
Bellevue, WA 98006

DISH Network Corporation

9601 S. Meridian Boulevard

Englewood, CO 80112

Attn: General Counsel

Email: tim.messner@dish.com; jeffrey.blum@dish.com; thomas.cullen@dish.com

with a copy (which shall not constitute notice) to:

Sullivan & Cromwell LLP

125 Broad Street

New York, New York 10004

Attn: Scott Miller and Scott Crofton

Email: millersc@sullcrom.com; croftons@sullcrom.com

RE: Notice of Default under the License Purchase Agreement, dated as of July 1, 2023, by
and between T-Mobile USA, Inc. and DISH Network Corporation

Dated: June 1, 2023
Ladies and Gentlemen:

Reference is made to the License Purchase Agreement, dated as of July 1, 2020 (the
“Purchase Agreement”), by and among T-Mobile USA, Inc. (“Seller”) and DISH Network
Corporation (“DISH”). Capitalized terms not otherwise defined herein shall have the meanings
ascribed to them in the Purchase Agreement.

Pursuant to Section 5.5 of the Purchase Agreement, the Parties were required to prepare
and file with the FCC all applications and notifications necessary to obtain the FCC Consents no
later than April 1, 2023 (i.e., the Filing Deadline, which is the third anniversary of the Merger
Closing Date). On March 13, DISH petitioned the Department of Justice Antitrust Division (the
“Division”’) for a sixty-day extension to that Filing Deadline under the Purchase Agreement, which
would then require the Parties to make all filings necessary to obtain the FCC Consents by May
31, 2023. On March 30, 2023, Seller and DISH mutually agreed not to issue any termination
notices pursuant to Section 5.5 of the Purchase Agreement unless and until the Department had
denied DISH’s petition or the expiration of the 60-day extension period. During the sixty-day
extension period Seller continued to be ready and willing to make all filings necessary to obtain
the required FCC Consents and consummate the transaction.

As of today’s date, June 1, 2023, Seller hereby notifies DISH that it is in material breach

of the Purchase Agreement with respect to its obligations in Section 5.5 thereunder. DISH is
entitled to a thirty-day period to cure such material breaches and make all filings necessary to

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T-Mobile USA, Inc.
12920 SE 38" St.
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obtain the FCC Consents no later than June 30, 2023. Seller remains ready and willing to make all
such filings before such date upon notice from DISH that it intends to do so.

Furthermore, Seller hereby notifies DISH that if such filings necessary to obtain the FCC
Consents are not made by July 1, 2023, Seller is entitled to and will terminate the Purchase
Agreement with immediate effect under Section 7.1(a)(v) and shall be entitled to a payment from
DISH of $71,794,777 pursuant to Section 7.1(c) of the Purchase Agreement by wire transfer of
immediately available funds no later than July 6, 2023.

Seller reserves all rights and remedies at law and in equity in connection with the Purchase
Agreement and nothing in this letter shall be deemed to limit or waive any such rights and
remedies.

Sincerely,
Corin (Ca)
By:_\A@ton Veo {AA

Name: Cfaig/} Codlin
Title: Vike Brésident — Legal Affairs

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